     Case: 1:19-cr-00277 Document #: 37 Filed: 11/04/19 Page 1 of 1 PageID #:111

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00277
                                                         Honorable Edmond E. Chang
Concepcion Malinek
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 4, 2019:


        MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: Defendant is in custody and appeared in court with assistance of counsel and a
Spanish−speaking interpreter. Arraignment held on the superseding indictment. Defendant
acknowledged receipt of the superseding indictment, waived formal reading, and entered a
plea of not guilty to the superseding indictment. Defense counsel reported that the
government produced the additional discovery and that he is reviewing Spanish−language
records with Defendant and her family. Defendant's pretrial motions due 12/13/2019.
Status hearing set for 12/17/2019 at 10 a.m., to resolve as many of the motions as possible
without further briefing, and to set a briefing schedule on those that require briefing.
Pursuant to 18 U.S.C. 3161(h)(7)(A) and (B), and without objection, time is excluded
from 11/04/2019 through 12/17/2019 under the Speedy Trial Act to allow counsel the time
to review discovery, to decide whether to file pretrial motions, and to prepare the motions
if any are filed. The Court recommends that the Marshals Service examine whether leg
irons are genuinely needed on the MCC bus, or at least different leg irons, in light of the
substantial swelling in Defendant&#039;s right ankle. Defendant ordered to appear and be
transported by U.S. Marshals Service. Emailed notice (slb, )




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